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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


HARRIS COUNTY, TEXAS, et al.,

      Plaintiffs,

      v.

ROBERT F. KENNEDY, JR., in his of-
ficial capacity as Secretary of United
States Department of Health and Hu-
man Services, et al.,

      Defendants.




                                             Civil Action No. 1:25-cv-01275 (CRC)



                     DECLARATION OF JAMIE LEGIER

Pursuant to 28 U.S.C. § 1746, I, Jamie Legier, declare as follows:

      1.     I am the Director of the Office of Grants Services at the Centers for

Disease Control and Prevention (CDC), the United States Department of Health

and Human Services (“HHS”).

      2.     In that capacity, my official duties include providing fiscal steward-

ship across the agency, and I serve as the agency’s principal advisor and liaison

on all aspects of grants, including grants financial management activities.

      3.     I have experience with HHS’s record systems regarding grant

awards issued by CDC, a sub-agency of HHS. These records are made in the


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course of regularly conducted business activity at or near the time of relevant

events by a person with knowledge of these events.

       4.    In the course of preparing this declaration, I have examined the of-

fice records available to me regarding grants awarded by CDC.

       5.    At issue in this litigation are grants provided by CDC to prevent,

prepare for, and mitigate against COVID-19. These grants were issued in the

midst of the COVID-19 pandemic, utilizing supplemental funds appropriated

through a number of appropriations acts passed by Congress in response to the

COVID-19 pandemic.

       6.    Grants issued by CDC are to entities considered “prime recipients”

or primary awardees with whom the agency has a legal relationship. If a prime

recipient provides an award (either a subaward or a contract) to another third

party, that entity is considered a subrecipient to CDC. CDC does not have a legal

relationship with a subrecipient and often will not have pertinent records associ-

ated with the relationship between the prime recipient and the subrecipient.

       7.    In response to the COVID-19 public health emergency, CDC, either di-

rectly or by and through HHS, received supplemental funding from the following ap-

propriations bills:

      The Coronavirus Preparedness and Response Supplemental Appropriations
       Act, 2020, Pub. L. No. 116-123, 134 Stat. 146 (2020) (“CPRSA”);

      The Coronavirus Aid, Relief, and Economic Security Act, Pub. L. No. 116-136,
       134 Stat. 281 (2020) (“CARES”);

      The Paycheck Protection Program and Health Care Enhancement Act, Pub. L.
       No. 116-139, 134 Stat. 620 (2020) (“PPP”);


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      The Coronavirus Response and Relief Supplemental Appropriations Act,
       (2021) Pub. L. No. 116-260, 134 Stat. 1182 (“CRRSAA”); and

      The American Rescue Plan Act of 2021 (“ARPA”) Pub. L. No. 117-2, 135 Stat.
       4 (2021) (“ARPA”).

       8.    With respect to the CDC, some of these bills specify, with varied

wording, a minimum amount of funding to be provided to state, tribal, local, and

territorial entities, commonly referred to by HHS as “STLTs” and the date by

which the funding must be made available or obligated by CDC.

       9.    I am aware in my role at CDC that both HHS and CDC track each of

the appropriated funding streams and the expenditure of those funds to each

grant recipient.

       10.   For the CPRSA, Congress appropriated $2.2 billion to CDC, of which

$950,000,000 was specifically appropriated for awards to STLTs, to remain avail-

able until September 30, 2022. As of May 12, 2025, CDC made available

$1,113,063,558 to the STLTs. With respect to these CPRSA funds, funding was

provided to states which flowed down funds at their discretion to third parties.

No dollars were obligated directly to the four local government plaintiffs in this

case (Harris County, Texas; Columbus, Ohio; Nashville and Davidson County,

Tennessee; and Kansas City, Missouri) (the “Local Government Plaintiffs”) from

CDC under this appropriation.

       11.   For the CARES Act, Congress appropriated $4.3 billion to CDC, of

which $1.5 billion was specifically appropriated for awards to STLTs, to remain

available until September 30, 2024. As of May 12, 2025, CDC made available

$2,108,793,598 to the STLTs.

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      12.    For the PPP, Congress appropriated $11,000,000,000 to HHS for

STLTs in total, without specifying that the appropriation go through CDC. Of

this appropriation, Congress specified that $750,000,000 be appropriated for the

Indian Health Service, resulting in $10,250,000,000 billion appropriated for non-

Indian Health Service STLTs. HHS also transferred another $282,311,516 to

CDC, and Congress appropriated $1,000,000,000 directly to CDC under the PPP.

As of May 12, 2025, CDC made available $10,532,321,503 to the STLTs. With

respect to these PPP funds, funding was provided to states which flowed down

funds at their discretion to third parties. No dollars were obligated directly to the

Local Government Plaintiffs from CDC under this appropriation.

      13.    For the CRRSAA, Congress appropriated $8.75 billion to HHS, which

then allocated $4.5 billion to CDC, of which $4.29 billion was specifically appro-

priated for awards to STLTs, to remain available until September 30, 2024. As of

May 12, 2025, $5,322,551,251 was made available to the STLTs from CRRSAA

funds. CDC also received a total of $21,327,406,498 from HHS under CRRSAA.

For CRRSAA funds, two of the four Local Government Plaintiffs received funds

from CDC under this appropriation.

      14.    For the ARPA, Congress appropriated $1 billion to CDC. CDC re-

ceived another $17,964,597,077 from HHS and CMS under ARPA. As of April 14,

2025, $18,964,597,077 was made available to the STLTs. With respect to these

ARPA funds, funding was provided to states which flowed down funds at their

discretion to third parties. No dollars were obligated directly to the Local



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Government Plaintiffs from CDC under this appropriation.

      15.   The table below reflects the amount of grant money that was left re-

maining for the four direct grants at issue in this case, made to the Local Govern-

ment Plaintiffs—as of the termination date, and as of May 13, 2025.


                                        Closeout       Award             Award
 Recipient        Award Number          Submit-        Balance           Balance
                                          ted          3/24/25           5/13/25
   Harris
County, TX      21NH75OT000026C5            Yes       $4,435,194       $4,005,605.21
   Harris
County, TX      21NU58DP006986C3            Yes       $1,034,010        $561,354.55
Kansas City,
     MO         21NH75OT000012C5            Yes       $633,353.00       $516,227.25
  Nashville
  and Da-
 vidson, TN     21NU58DP006999C3            No       $1,447,100.00     $1,130,788.28



I HEREBY DECLARE TO THE BEST OF MY KNOWLEDGE AND BELIEF,

UNDER PENALTY OF PERJURY, that the foregoing is true and correct.


EXECUTED this May 14, 2025, at Atlanta, Georgia
                                                   /s/ Jamie Legier
                                                   Jamier Legier




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